                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT GREENEVILLE


UNITED STATES OF AMERICA                              )
                                                      )
v.                                                    )      No. 2:12-CR-019
                                                      )
CHELSEA SHAWNTEL MEIGS                                )


                                            ORDER

                On August 16, 2012, the court imposed a term of imprisonment of 88 months,

taking into account the defendant’s substantial assistance. Now before the court is the

motion of the United States, pursuant to Rule 35 of the Federal Rules of Criminal Procedure,

for reduction of sentence due to the defendant’s further substantial assistance [doc. 171].1

The defense has not filed a response.

                The court has carefully reviewed the government’s motion, taking into account

all of the factors set forth in section 5K1.1(a) of the United States Sentencing Commission

Guidelines Manual. Most particularly, the court has considered the significance and

usefulness of the defendant’s assistance, the nature and extent of that assistance, the

truthfulness, completeness, and reliability of the assistance, and the government’s evaluation.

Having considered all those factors, the court concludes that the government’s

recommendation of a further one-level reduction is appropriate and is consistent with the

substantial assistance reductions awarded by this court in similar circumstances.


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           All filings pertaining to the instant motion have been made under seal.


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             For these reasons, the government’s motion [doc. 171] is GRANTED. The

defendant’s sentence of imprisonment is REDUCED to 79 months. Except as provided

above, all provisions of the judgment dated August 20, 2012, shall remain in effect.



                                                       ENTER:


                                                               s/ Leon Jordan
                                                          United States District Judge




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